AO 98 (Rev. 12/11) Appearance Bond

 

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

 

 

United States of America )
Vv. )
PAULA KAY BULLOCK Case No. 1:17CR460-1
Defendant )
APPEARANCE BOND
Defendant’s Agreement
I, PAULA KAY BULLOCK (defendant), agree to follow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if I fail:
( X ) _ to appear for court proceedings;
(xX) if convicted, to surrender to serve a sentence that the court may impose; or
( X )  tocomply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( ) C1) This is a personal recognizance bond.

( X ) (2) This is an unsecured bond of $ 20,000.00

 

( ) @) This is a secured bond of $ , secured by:

 

( )f@$ , in cash deposited with the court.
( _) (6) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) abail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

Case 1:17-cr-00460-LCB Document 7 Filed 12/20/17 Page 1 of 2
Page 2

AO 98 (Rev. 12/11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

   
 

I, the defendant — and each surety — declare under penalty of perjury that tris info

Date: (L] 6 [ry ha

f Defendap’s signature

is true’ (See 28US.C. § 1746.)

 

 

 

 

 

Surety/property owner — printed name Surety/property owner — signature and date
Surety/property owner — printed name Surety/property owner — signature and date
Surety/property owner — printed name Surety/property owner — signature and date
CLERK OF COURT
Date:
Signature of Clerk or Deputy Clerk
Approved.

 
  

 

Date: a 20 [ [ = : JN
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Case 1:17-cr-00460-LCB Document 7 Filed 12/20/17 Page 2 of 2
